        Case 4:19-cv-07123-PJH Document 140-1 Filed 09/10/20 Page 1 of 2




 1   Greg D. Andres
     Antonio J. Perez-Marques
 2   Craig T. Cagney
       (admitted pro hac vice)
 3   DAVIS POLK & WARDWELL LLP
     450 Lexington Avenue
 4   New York, New York 10017
     Telephone: (212) 450-4000
 5   Facsimile: (212) 701-5800
     Email: greg.andres@davispolk.com
 6            antonio.perez@davispolk.com
              craig.cagney@davispolk.com
 7
     Micah G. Block (SBN 270712)
 8   DAVIS POLK & WARDWELL LLP
     1600 El Camino Real
 9   Menlo Park, California 94025
     Telephone: (650) 752-2000
10   Facsimile: (650) 752-2111
     Email: micah.block@davispolk.com
11

12   Attorneys for Plaintiffs WhatsApp Inc. and
     Facebook, Inc.
13
                                  UNITED STATES DISTRICT COURT
14
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
15
                                          OAKLAND DIVISION
16
     WHATSAPP INC., a Delaware corporation,
                                       )           Case No. 4:19-cv-07123-PJH
17   and FACEBOOK, INC., a Delaware    )
     corporation,                      )           [PROPOSED] ORDER GRANTING
18                                     )           PLAINTIFFS’ MOTION TO STRIKE
                     Plaintiffs,       )           AFFIRMATIVE DEFENSES
19                                     )
            v.                         )
20                                     )            Date:    October 21, 2020
     NSO GROUP TECHNOLOGIES LIMITED )               Time:    9:00 a.m.
21   and Q CYBER TECHNOLOGIES LIMITED, )            Ctrm:    3
                                       )
                     Defendants.       )            Judge:   Hon. Phyllis J. Hamilton
22
                                       )
23                                     )
                                       )            Action Filed: October 29, 2019
24                                     )
                                       )
25                                     )
                                       )
26

27

28
        Case 4:19-cv-07123-PJH Document 140-1 Filed 09/10/20 Page 2 of 2




 1            Before the Court is Plaintiffs’ Motion to Strike Affirmative Defenses. Having considered

 2   the motion and all supporting papers and opposition papers, IT IS HEREBY ORDERED that:

 3            Plaintiffs’ Motion to Strike Affirmative Defenses is GRANTED;

 4            Defendants’ Sixth, Tenth, Eighteenth, and Twenty-Third Separate and Additional Defenses

 5   are STRUCK WITH PREJUDICE as immaterial, impertinent, and inapplicable as a matter of law;

 6            Defendants’ Eleventh and Twelfth Defenses are STRUCK WITH PREJUDICE as waived

 7   and untimely; and

 8            Defendants’ Twenty-Fourth through Thirty-Fifth Separate and Additional Defenses are

 9   STRUCK WITHOUT PREJUDICE as insufficiently pled and for failing to provide fair notice of

10   the defenses.

11

12   Dated:
13                                                 THE HONORABLE PHYLLIS J. HAMILTON
                                                   U.S. DISTRICT JUDGE
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                       1
     [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION TO STRIKE AFFIRMATIVE DEFENSES
     CASE NO. 4:19-CV-07123-PJH
